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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                WEST PALM BEACH DIVISION

 KEITH OLEARY, TIMOTHY SHAW, and
 NATHAN HAVILAND on behalf of
 themselves and, all others similarly situated,

                Plaintiffs,
                                                  CASE NO.: 19-CV-80647-WJ
 vs.

 HCA HEALTHCARE, INC., a Delaware
 Corporation d/b/a HCA FLORIDA,
 POINCIANA MEDICAL CENTER, INC.,
 a Florida Corporation; FORT WALTON
 BEACH MEDICAL CENTER, INC.,
 a Florida Corporation; PALMS WEST
 HOSPITAL LP, a Delaware Limited
 Partnership and NORTH FLORIDA
 DIVISION I, INC., a Florida Corporation;
 and, EAST FLORIDA DIVISION, INC.,
 a Florida Corporation

                Defendants.
 __                                     /

              DEFENDANT HOSPITALS’ MOTION TO DISMISS COMPLAINT
         Pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6), Defendants Poinciana Medical Center,
  Inc. (“Poinciana”), Fort Walton Beach Medical Center, Inc. (“Fort Walton Beach”), and Palms
  West Hospital Limited Partnership (Palms West”) (collectively, the “Defendant Hospitals”),
  move to dismiss with prejudice the Class Complaint and Demand for Jury Trial (the
  “Complaint,” D.E. 1). Dismissal with prejudice is appropriate in light of Plaintiffs’ multiple
  attempts to bring the same claims and because such claims would be futile. 1




  1
    As set forth in Defendants’ pending Joint Motion to Stay Proceedings, To Determine
  Entitlement to Fees and Costs Incurred in Previously Dismissed Action, and (Precautionary)
  Request for an Extension of Time to Respond to Complaint and Incorporated Memorandum of
  Law (D.E. 16), this is the third complaint asserting claims based (in whole or part) on allegedly
  undisclosed emergency department facility fees. Plaintiffs lack standing to pursue such claims
  for the reasons set forth herein.
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                                  PRELIMINARY STATEMENT
         The Complaint alleges that the Defendant Hospitals engage in a practice of billing
  patients treated in the emergency room a “facility fee” (which Plaintiffs also term a “surcharge”)
  that is not disclosed in advance of treatment. Far from being an undisclosed “surcharge,”
  emergency department facilities fees are the standard industry charge for emergency department
  services, and as such, are recognized by the Centers for Medicare & Medicaid Services (“CMS”)
  which has included and incorporated them into CMS’s approved billing codes. Nonetheless,
  Plaintiffs seek a declaration that charging such fees is unconscionable and that the admission
  contracts signed by Plaintiffs at the time of treatment are unenforceable, as well as injunctive
  relief prohibiting Defendants from continuing to engage in this alleged practice.
         The Complaint should be dismissed for perhaps the most basic reason a Complaint can
  fail: nothing happened. Plaintiffs suffered no injury whatsoever. They never paid the facility
  fees of which they complain. There were never even invoiced for the facility fees of which they
  complain. Indeed, the only reason they are even aware of the facility fees of which they
  complain is that they expressly requested that the Defendant Hospitals send them an itemization
  of full charges. The Defendant Hospitals honored that request, providing the itemization, which
  was accompanied by a statement that reflected that a Patient Statement would provide the
  patient’s responsibility and that payment would be due upon receipt of the Patient Statement.
  Accordingly, Plaintiffs lack standing to pursue their claims because there simply is no live case
  or controversy. They cannot manufacture standing by asking the Hospitals to send them a
  document and then complaining that the receipt of that document caused them “dismay.”
          Even assuming they had been invoiced for facility fees, the accounts of both Plaintiffs
  Shaw and Haviland had been written off before they filed suit and Defendants have not been
  pursued for any payment from them since. As such, even if they once had viable claims, the
  claims are moot.
         Plaintiffs fail to state a claim for the additional reason that emergency department
  facilities fees are not “concealed.” They are disclosed in the Hospitals’ Charge Masters, which
  are made available to patients upon request, and incorporated into admission contracts. By the
  same token, federal and state transparency laws and regulations require that hospitals post their
  charges online, rendering Plaintiffs’ claims for injunctive relief all the more moot. For that
  reason and the others described below, the Complaint fails to state a claim for declaratory relief.



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                                    STATEMENT OF FACTS 2
          A. PLAINTIFF HAVILAND
          Plaintiff Haviland received emergency medical services at Poinciana on October 23,
  2016. Compl. ¶39. Haviland acknowledges that at the time of service, he executed a “standard
  form Contract,” otherwise described as the “Conditions of Admission” contract. Id., ¶¶30, 39.
          Haviland alleges that “the gross amount (before discounts) subsequently billed for the
  treatment/services he received was $23,865.59,” which included an allegedly undisclosed
  “surcharge” of $3,935 in addition to “charges for the individual items of treatment and services
  provided.” Id., ¶42. Haviland alleges that he received no notice that Poinciana intended to add
  this “surcharge” to his bill, ¶41, and that he was “surprised, dismayed and aggrieved” when he
  found out about it. Id., ¶43.
          Notably, the Complaint fails to attach either the Conditions of Admissions contract or any
  bills Haviland allegedly received. 3 Haviland’s Conditions of Admission contract, at Section 5
  states, in pertinent part:
          In consideration of the services to be rendered to Patient, Patient or Guarantor
          individually promises to pay the Patient’s account at the rates stated in the
          hospital’s price list (known as the “Charge Master”) effective on the date the
          charge is processed for the service provided, which rates are hereby
          expressly incorporated by reference as the price term of this agreement to
          pay the Patient’s account. . . . An estimate of the anticipated charges for services


  2
    The Defendant Hospitals’ Motion to Dismiss is brought pursuant to both 12(b)(1) and 12(b)(6).
  For purposes of a Rule 12(b)(1) factual attack on jurisdiction, the Court may consider extrinsic
  documents. See Morrison v. Amway Corp., 323 F.3d 920, 924 n.5 (11th Cir. 2003).
  Alternatively, for purposes of a motion to dismiss brought pursuant to Rule 12(b)(6), the court
  may consider a document attached to a motion to dismiss, without converting the motion into
  one for summary judgment, if the documents are (1) central to the plaintiff’s claim and (2)
  undisputed. Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005).
  3
    Notably, Haviland described the Conditions of Admission contract in detail in his previously
  dismissed lawsuit. See Appendix of Select Pleadings from First Action, (D.E. 17), App’x 1,
  Haviland et al v. Poinciana Medical Center, Inc. et al., Case No. 6:19-cv-00293-RBD-TBS
  (M.D. Fla.), Complaint, dated January 10, 2019, D.E. 1-1, at ¶¶13-14. Poinciana attached the
  relevant billing document, Conditions of Admission Contract, and Haviland’s acknowledgement
  of Poinciana’s uninsured discount and charity policy to its motion to dismiss in that prior action.
  See Appendix of Select Pleadings from First Action, (D.E. 17), App’x 3, Motion to Dismiss and
  Strike Class Allegations and Incorporated Memorandum of Law, Haviland et al v. Poinciana
  Medical Center, Inc. et al., Case No. 6:19-cv-00293-RBD-TBS (M.D. Fla.), dated February 25,
  2019, D.E. 13, at D.E. 13-1 (Patient Statement for $3,102.53, February 21, 2017); D.E. 13-2
  (Conditions of Admissions); and 13-3 (Uninsured Patient Information Document).


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           to be provided to the patient is available upon request from the hospital.
           Estimates may vary significantly from the final charges based on a variety of
           factors, including but not limited to the course of treatment, intensity of care,
           physician practices, and the necessity of providing additional goods and services.
           ...
           If supplies and services are provided to Patient who has coverage through a
           governmental program or through certain private health insurance plans,
           the hospital may accept a discounted payment for those supplies and
           services. In this event any payment required from the Patient or Guarantor
           will be determined by the terms of the governmental program or private
           health insurance plan. If the Patient is uninsured and not covered by a
           governmental program, the patient may be eligible to have his or her account
           discounted or forgiven under the hospital’s uninsured discount or charity
           care programs in effect at the time of treatment. I understand that I may
           request information about these programs from the hospital.

  See Haviland Conditions of Admission contract, attached as Exhibit 1 (emphasis added).
           Haviland also received (and his wife acknowledged on his behalf) an “Uninsured Patient
  Information Document,” which explained that the total charges for his services would be
  discounted under Poinciana’s discount program for uninsured patients, and further explained
  how his account would be processed. See Uninsured Patient Information Document, attached as
  Exhibit 2. Specifically, that document explained that the total charges for Haviland’s services
  would be posted to his account, the uninsured discount would then be applied, and Haviland
  would only owe the reduced amount. Id.
           Although the Complaint alleges that “the gross amount (before discounts) subsequently
  billed” to Haviland was $23,865.59, it omits the fact that Poinciana’s standard discount for
  uninsured patients was applied to the charges before Haviland was invoiced. On January 13,
  2017, Haviland requested and subsequently received an itemized statement of charges, which
  reflected the full charges relating to his services as described in the Uninsured Patient
  Information Document. See Declaration of Records Custodian of Poinciana (“Poinciana Decl.”),
  at ¶6, attached as Composite Exhibit 3; see also Haviland Itemized Statement of Charges,
  attached at Composite Exhibit 3-2. 4 The accompanying correspondence on behalf of Poinciana
  reflected that Haviland was being provided with an itemization of the Charge Master charges as
  requested and that the amount he would actually owe would be reflected in the Patient Statement.
  Id. at ¶6. Id. at ¶6; see also Form “1279” letter, attached at Composite Exhibit 3-2. The following


  4
      Including an ED Level 4 Charge/HCPCS Code 99284 for $3,935.25.


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  month, Haviland was issued an invoice – the Patient Statement – for payment reflecting
  application of the uninsured discount. Id. at ¶4. The total amount billed was $3,102.53. See
  Patient Statement dated February 21, 2017, attached at Exhibit 3-1. Standing alone, that was less
  than the allegedly undisclosed “surcharge” on which this action is based.
         In short, Haviland was never invoiced for, and never paid, a facility fee of $3,935.00. In
  fact, he never paid anything at all to Poinciana. Moreover, on November 30, 2017, Haviland’s
  account was written off to bad debt and no further collection efforts were undertaken. See
  Poinciana Decl., ¶8.
         B. Plaintiff Shaw.
         On or about January 21, 2019, Plaintiff Shaw received emergency medical services at
  Palms West. Compl.,¶44. Shaw similarly alleges that he received no notice or warning that
  Palms West intended to add an emergency department “surcharge” to his bill. Id., ¶46.
  Specifically, Shaw alleges that the “gross amount (before discounts) subsequently billed for the
  treatment/services provided to Shaw by Defendant Palms West Hospital was $5,437.00,” which
  included an allegedly undisclosed “surcharge” of $1,642.00 in addition to charges for the
  individual items of treatment and services provided. Id. Like Haviland, Shaw alleges that he was
  “surprised, dismayed and aggrieved” when he found out about the charge. Id., ¶48.
         Once again, the Complaint fails to attach either the Conditions of Admissions contract or
  any bills that Shaw received. Shaw’s Conditions of Admission contract, at Section 5, contains
  identical language to that of Haviland’s Conditions of Admission contract excerpted above. See
  Shaw Conditions of Admission contract, attached as Exhibit 4.
         Following receipt of his medical services, Shaw requested an itemization of full charges
  from Palms West, which was provided. 5 See Declaration of Records Custodian of Palms West
  Hospital (“Palms West Decl.”) attached at Composite Exhibit 5, at ¶2; see also Shaw
  Itemizations of Hospital Services, dated January 25, 2019, and January 30, 2019, attached at
  Composite Exhibit 5-1. The correspondence on behalf of Palms West clearly stated that it was
  not a bill and that Shaw was not being asked to pay the amounts listed. See Id. Instead, the
  correspondence reflected that Shaw was being provided with the itemization of Charge Master
  charges he requested, and that the amount he would actually owe would be subject to insurance


  5
   The itemization included an ED Level 3 Charge/HCPCS Code 99283 for $1,642. See Comp.
  Ex. 5-1.


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  payments and other adjustments. Id.
         On May 8, 2019, Shaw’s unpaid account was written off by Palms West with no balance
  due. See Palms West Decl., ¶4. At no time was Shaw sent an invoice seeking payment. Id. As
  such, Shaw was never invoiced for, nor did he ever pay, a facility fee of $1,642.00. Id., ¶¶4-5. In
  fact, he never paid anything at all to Palms West.
         C. Plaintiff Oleary.
         On or about December 18, 2017, Plaintiff Oleary’s minor dependent received emergency
  medical services at Fort Walton Beach. Compl.,¶44. Oleary, like the other named Plaintiffs,
  alleges that he received no notice or warning that Fort Walton Beach intended to add an
  emergency department “surcharge” to the bill. Id., ¶51. Specifically, Oleary alleges that the
  “gross amount (before discounts) subsequently billed for the treatment/services provided to
  Plaintiff Oleary’s minor dependent by Defendant Fort Walton Beach was $6,617.41, which
  included an undisclosed Surcharge for merely being seen in Fort Walton Beach’s emergency
  room, in addition to the charges for the individual items of treatment and services provided.” Id.,
  ¶52.   Shaw alleges that he was “charged a substantial surcharge,” but does not specify a
  particular amount, and he echoes the refrain of the other two Plaintiffs that he was “surprised,
  dismayed and aggrieved” when he found out about the charges. Id., ¶53.
         Just as with the other Plaintiffs, the Complaint fails to attach either the Conditions of
  Admissions contract or any bills Oleary received. Oleary’s Conditions of Admission contract, at
  Section 5, contains identical language to that of the other two Plaintiffs’ Conditions of
  Admission contracts, including that “If supplies and services are provided to [a] Patient who has
  coverage through . . . certain private health insurance plans, the hospital may accept a discounted
  payment for those supplies and services. In this event any payment required from the Patient
  or Guarantor will be determined by the terms of the . . . private health insurance plan.”
  See Oleary’s Conditions of Admission contract, attached as Exhibit 6.
         Following the receipt of medical services, the charges for Oleary’s dependent, which
  actually totaled $3,669, not $6,617.41, were submitted to his health insurance for payment. See
  Declaration of Records Custodian of Fort Walton Beach Medical Center (“FWBMC Decl.”)
  attached at Composite Exhibit 7, ¶4; see also UB-04, attached at Composite Exhibit 7-1. The
  health insurer calculated allowable amounts, co-insurance, and deductibles; made a payment of
  $1,419.41; and determined that the amount due from Oleary was $820.59. See FWBMC Decl.,



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  ¶4; see also EOB, attached at Composite Exhibit 7-1. On January 17, 2018, Oleary was invoiced
  that amount by Fort Walton Beach. FWBMC Decl., ¶5; see also Patient Statement, attached at
  Exhibit 7-2. On January 25, 2018, Oleary requested an itemized statement of the full charges
  related to the services received by his dependent, which was thereafter provided. 6 FWBMC
  Decl., ¶7; see also Itemized Statement of Charges, attached at Composite Exhibit 7-3. The
  accompanying correspondence on behalf of Fort Walton Beach reflected that Oleary was being
  provided with an itemization of the Charge Master charges as requested, and that the amount he
  would actually owe would be reflected in the Patient Statement. See Form “1279” letter, attached
  at Composite Exhibit 7-3. Indeed, Oleary’s invoice – the Patient Statement – had been issued
  eight days earlier. See Ex. 7-2.
           As such, Oleary was never invoiced for, and never paid, an allegedly undisclosed
  “substantial” facility fee as alleged in the Complaint.
           D. Plaintiffs’ Claims.
           Plaintiffs seek injunctive and declaratory relief under Florida’s Deceptive and Unfair
  Trade Practices Act (“FDUTPA”), Fla. Stat. §§ 501.201 et seq. and, alternatively, under the
  Declaratory Judgment Act on behalf of a putative class of all individuals who were charged an
  emergency room fee at any facility operated by the Defendant Hospitals or any of their affiliates
  (identified as 50 hospitals across the State of Florida) within the last four years. Compl., ¶¶1-5.
           In Count I, Plaintiffs seek a declaratory judgment that Defendants’ practice of charging
  an undisclosed “Emergency Department facility fees” is an unconscionable billing practice,
  rendering unenforceable the Conditions of Admission agreement which expressly incorporates
  the price term for the services rendered. Compl. ¶72. Plaintiffs additionally seek declaratory and
  injunctive relief prohibiting the alleged billing practice and any further collection activity for
  emergency department facility fees. Id. at ¶75.
           In Count II, Plaintiffs seek a declaratory judgment that Defendants are violating
  FDUTPA by failing to provide signage in or around the emergency room facilities, or verbally
  upon registration, of Emergency Department facility fees.           Id. ¶¶78, 81.    Plaintiffs seek
  declaratory and injunctive relief, as well as an award of attorneys’ fees. See id. ¶¶75-76, 86; at
  16-17.


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   The itemization included an ED Level 3 Charge/HCPCS Code 99283 for $1,567.00. See Comp.
  Ex. 7-3.


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          For the reasons set forth below, Plaintiffs’ claims should be dismissed with prejudice.
                                         LEGAL STANDARD
          As noted above, the Defendant Hospitals’ Motion to Dismiss is brought pursuant to both
  Rule 12(b)(1) and 12(b)(6).       It is well established that when considering a Rule 12(b)(1)
  challenge, the district court may consider evidence outside the pleading, such as testimony and
  affidavits. See Morrison v. Amway Corp., 323 F.3d 920, 925 n.5 (11th Cir. 2003).
          To avoid dismissal under Rule 12(b)(6), “‘the complaint’s allegations must plausibly
  suggest that the plaintiff has a right to relief, raising that possibility above a “speculative level”;
  if they do not, the plaintiff’s complaint should be dismissed.’” James River Ins. Co. v. Ground
  Down Eng’g, Inc., 540 F.3d 1270, 1274 (11th Cir. 2008) (citing Bell Atl. Corp. v. Twombly, 550
  U.S. 544, 555 (2007)). Plausibility “requires pleading ‘factual content that allows the court to
  draw the reasonable inference that the defendant is liable for the misconduct alleged.’” Catron v.
  City of St. Petersburg, 658 F.3d 1260, 1264–65 (11th Cir. 2011) (quoting Ashcroft v. Iqbal, 556
  U.S. 662, 678 (2009)). The complaint “must plausibly establish each element of the cause of
  action” alleged. Hogan v. Provident Life & Acc. Ins. Co., 665 F. Supp. 2d 1273, 1286 (M.D. Fla.
  2009). If a plaintiff has “not nudged [his] claims across the line from conceivable to plausible,
  [his] complaint must be dismissed.” Twombly, 550 U.S. at 570.
          “‘Threadbare recitals of the elements of a cause of action, supported by mere conclusory
  statements, do not suffice.’” Jacobs v. Tempur-Pedic Int’l, Inc., 626 F.3d 1327, 1333 (11th Cir.
  2010) (quoting Iqbal, 556 U.S. at 678). Moreover, “conclusory allegations, unwarranted factual
  deductions or legal conclusions masquerading as facts will not prevent dismissal.” Davila v.
  Delta Air Lines, Inc., 326 F.3d 1183, 1185 (11th Cir. 2003). Further, in ruling on a motion to
  dismiss pursuant to Rule 12(b)(6), the court may consider extrinsic documents without
  converting the motion into one for summary judgment if the documents are (1) central to the
  plaintiff’s claim and (2) undisputed. Day v. Taylor, 400 F.3d 1272, 1276 (11th Cir. 2005).
                                             ARGUMENT
     I.      THERE IS NO CASE OR CONTROVERSY
          Article III of the U.S. Constitution limits the jurisdiction of the federal courts to the
  consideration of “Cases” and “Controversies.” A&M Gerber Chiropractic LLC v. GEICO Gen.
  Ins. Co., No. 17-15606, 2019 WL 2292326, at *3 (11th Cir. May 30, 2019); Florida Ass’n of
  Rehabilitation Facilities v. Florida Dep’t of Health & Rehabilitative Servs., 225 F.3d 1208, 1216



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  (11th Cir. 2000). The doctrine of standing is grounded in the case-or-controversy requirement.
  A&M Gerber Chiropractic, 2019 WL 2292326, at *3. At the time a plaintiff brings a lawsuit, he
  or she must have standing to prosecute his or her claim. Tucker v. Phypher, 819 F.2d 1030, 1033
  (11th Cir. 1087). Standing requires that a plaintiff must have a personal stake in the outcome of
  the litigation. Id. A party who invokes a federal court’s authority must show, at a minimum, that
  at the time the complaint was filed, he had suffered some actual or threatened injury resulting
  from the defendant’s conduct, that the injury fairly can be traced to the challenged action, and
  that the injury is likely to be redressed by favorable court disposition. A&M Gerber
  Chiropractic, 2019 WL 2292326, at *3.
           Similarly, the doctrine of mootness is derived from case-or-controversy limitation
  because an action that is moot cannot be characterized as an active case or controversy. Florida
  Ass’n of Rehabilitation Facilities, 225 F.3d at 1216. The mootness doctrine requires that the
  controversy being litigated remain live throughout the litigation. Id. In other words, a case is
  moot when it no longer presents a live controversy with respect to which the court can give
  meaningful relief. Fla. Ass’n of Rehabilitation Facilities, 225 F.3d at 1217. Any decision on
  the merits of a moot case or issue would be an impermissible advisory opinion. Fla. Ass’n of
  Rehabilitation Facilities, 225 F.3d at 1217.
           Although this matter is brought as a class action, Plaintiffs must establish their own
  standing to sue and cannot rely on alleged injuries to other putative class members. See Wilding
  v. DNC Servs. Corp., No. 16-61511-CIV, 2017 WL 6345492, *4 (S.D. Fla. Aug. 25, 2017). In
  the context of a class action, a plaintiff who seeks to represent the class must have a “live” claim
  both at the time the lawsuit is brought and when the determination is made whether to certify a
  class. Tucker, 819 F.2d at 1033. If a plaintiff’s claim is not live, the court lacks a justiciable
  controversy and must dismiss the claim as moot. Id.
           Furthermore, to have standing to pursue declaratory or injunctive relief, a plaintiff “must
  allege facts from which it appears that there is a substantial likelihood that plaintiff will suffer
  injury in the future.” Walden v. Ctrs. for Disease Control and Prevention, 669 F.3d 1277, 1284
  (11th Cir. 2012); Malowney v. Federal Collection Deposit Corp., 193 F.3d 1342 (11th Cir.
  1999).    Additionally, the continuing controversy may not be conjectural, hypothetical, or
  contingent; it must be real and immediate, and create a definite, rather than speculative threat of
  future injury.” Malowney, 193 F.3d at 1347. Where the plaintiff fails to allege facts from which



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   it appears there is a substantial likelihood that the plaintiff will suffer injury in the future, that the
   parties have adverse legal interests, and that there is a “sufficient immediacy and reality to
   warrant the issuance of a declaratory judgment,” the plaintiff fails to state a cause of action for
   declaratory judgment pursuant to 28 U.S.C. § 2201 and the claim must be dismissed. Marine Pro
   Dock Sys., LLC v. Polietilen Mamulleri San. Tic. Ltd. Sti., No. 18-14006-CIV, 2018 WL
   3112170, at *9 (S.D. Fla. Mar. 28, 2018); Malowney, 193 F.3d at 1348; Interstate Fire & Cas.
   Co. v. Kluger, Peretz, Kaplan & Berlin, P.L., 855 F. Supp. 2d 1376, 1380 (S.D. Fla. 2012)
   (dismissing claim for declaratory relief for lack of case or controversy where plaintiff was solely
   seeking a declaration as to past events regarding propriety of insurer’s refusal of plaintiff’s claim
   under policy).
           Plaintiffs do not have a justiciable controversy before this Court.
           A.       None Of The Plaintiffs Was Ever Asked To Pay The Emergency Department
                    Facility Fees Alleged In The Complaint.
           As explained above, none of the Plaintiffs was ever actually billed for, let alone paid, an
   emergency room facility fee as alleged in the Complaint. While each of the Plaintiffs requested
   and obtained itemized statements listing the full charges associated with their services – which
   were subsequently used as the basis of this lawsuit – the itemizations did not reflect Plaintiffs
   actual discounted charges and were not invoices for payment. The invoices subsequently issued
   to Haviland and Oleary were heavily discounted. In Haviland’s case, the invoice was subject to
   the hospital’s standard discount for uninsured patients and amounted in its entirety to less than
   the allegedly undisclosed “surcharge” described in the Complaint. In Oleary’s case, the invoice
   reflected the amount due as calculated by his dependent’s health insurer pursuant to his health
   insurance plan and the insurer’s agreement with the hospital. See FWBMC Decl., ¶¶4-5, EOB,
   Ex. 7-1, Patient Statement, Ex. 7-2. 7 Shaw was never invoiced at all. See Palms West Decl., ¶¶4-
   5.
           Plaintiffs lack standing to seek declaratory and injunctive relief relating to an alleged
   billing practice to which they were never subject, and relating to charges which they never owed
   or paid. Indeed, the only apparent injury Plaintiffs allege is that they were “surprised, dismayed
   and aggrieved” by the charges on the itemizations they requested. However, feeling “surprised,

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     Indeed, Plaintiff Oleary’s bill and obligation was premised not upon the Hospital’s Charge
   Master prices, but the managed care discounts and allowed amounts pursuant to his private
   health insurance.


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   dismayed and aggrieved” does not equate to injury-in-fact, nor confer Article III standing.
   Moreover, a plaintiff cannot manufacture standing by soliciting the transmission of a document
   and then alleging it caused distress.
           B.      None Of The Plaintiffs Is Being Pursued For Payment Of An Emergency
                   Department Facility Fee.
           Furthermore, Haviland and Shaw’s unpaid accounts were written off in full before they
   filed this complaint. Because they are not subject to continuing efforts to collect any payment
   for the services received (not to mention collection of a facility fee for which they were never
   invoiced), there is no live no case or controversy. See, e.g., Ross v. Albany Med. Ctr., 104 F.3d
   351 (2d Cir. 1996) (affirming dismissal of claims for declaratory and injunctive relief concerning
   alleged overcharges where overcharge was forgiven, finding that injury was hypothetical and
   that plaintiff lacked standing to pursue action because “a fear that an obligation to pay may be
   reinstated is not sufficient to establish an ‘injury in fact.’”)
           Nor can Plaintiffs be deemed “aggrieved” so as to have standing to pursue equitable relief
   under Section 501.211(1) of FDUTPA. In order for a party to be “aggrieved” under Section
   501.211(1), the injury claimed must have actually been suffered and cannot be hypothetical.
   Macias v. HBC of Florida, Inc., 694 So. 2d 88 (Fla. 3d DCA 1997). While Section 501.211(1)
   allows for recourse against past conduct that has since been remedied, in addition to present
   conduct, the “aggrieved” person “must be able to demonstrate some specific past, present, or
   future grievance, otherwise the statute would have no meaning in violation of settled rules of
   statutory construction.” Ahern v. Mayo Clinic, 180 So 3d 165, 173 (Fla. 1st DCA 2015).
           Here, because Plaintiffs Haviland and Shaw were never invoiced for the undisclosed
   facility fees and their accounts have been written off, they have no demonstrable injury and
   cannot be aggrieved under FDUTPA. See Jones v. TT of Longwood, Inc., No. 606-CV-651 ORL
   19 DAB, 2007 WL 2298020, at *1, *8 (M.D. Fla. Aug. 7, 2007) (granting summary judgment on
   FDUTPA claim, finding that because down payment was returned in full before suit was filed,
   plaintiff suffered no actual damages and had no standing to represent class of claimants seeking
   damages or equitable relief under FDUTPA); Haun v. Don Mealy Imps., Inc., 285 F. Supp. 2d
   1297, 1307-08 (M.D. Fla. 2003) (granting motion to dismiss FDUTPA claim for injunctive and
   declaratory relief where deposit was returned before suit was filed and plaintiff failed to allege
   any actual damages or explain how she was actually aggrieved). Plaintiff Oleary similarly was
   never invoiced for a facility fee. Moreover, his payment obligation was premised on the managed


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   care discounts and allowed amounts pursuant to his private health insurance. As such, he was not
   aggrieved under FDUTPA either.
          C.      The Relief Sought By Plaintiffs Is Moot In Light Of State And Federal
                  Transparency Laws And Regulations.
          In their Complaint, Plaintiffs take issue with the Defendant Hospitals’ incorporation of
   their Charge Master price lists into the Conditions of Admissions contracts, and seek to prohibit
   Defendants from continuing to charge emergency department facility fees without further
   disclosures. Compl., ¶75. In addition to the fact that the Conditions of Admission contracts
   expressly state that Plaintiffs could request “an estimate of the anticipated charges,” Florida’s
   existing pricing transparency laws allow a patient to obtain information about pricing, discounts,
   and collection processes online, and to request an itemized statement of charges. See Section
   395.301(1), Florida Statutes (requiring hospitals to: (1) provide the public with website
   information on amounts payable to the facility for services and procedures in a searchable
   format, (2) provide information to prospective patients on the hospital’s financial assistance
   policy, including the application process, payment plans, and discounts, and the hospital’s
   charity care policy and collection procedures; (3) and notify each patient during admission and at
   discharge of his or her right to receive an itemized statement of charges upon request).
          In addition, federal law has long provided that hospitals operating within the United
   States must establish and make public a list of the hospital’s standard charges for items and
   services provided by the hospital. See 42 U.S.C. § 300gg-18(e). Moreover, federal regulations
   effective January 1, 2019 require hospitals, including the Defendant Hospitals, to post their
   charges online. See 83 F.R. 41144, 41686, Vol. 83, No. 160 (Centers for Medicare and Medicaid
   Servs., Aug. 17, 2018) (“[E]effective January 1, 2019, we announced the update to our
   guidelines to require hospitals to make available a list of their current standard charges via the
   internet in a machine readable format and to update this information at least annually, or more
   often as appropriate. This could be in the form of the chargemaster itself or another form of the
   hospital’s choice, as long as the information is in machine readable format.”)
          Any relief Plaintiffs could arguably seek by way of injunctive or declaratory relief
   requiring disclosure is already provided for by federal and state pricing transparency laws and
   regulations. Accordingly, Plaintiffs’ requested relief is moot.




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      II.        THE COMPLAINT FAILS TO STATE A CLAIM UNDER FDUTPA.
            A.     Plaintiffs Fail To Allege Facts Demonstrating That The Defendant Hospitals
                   Have Engaged In Deceptive Or Unfair Conduct Sufficient To Give Rise To A
                   FDUTPA Claim.
            To state a FDUTPA claim, a plaintiff must establish three elements: (i) a deceptive act or
   unfair practice; (ii) causation; and (iii) actual damages. See Bookworld Trade, Inc. v. Daughters
   of St. Paul, Inc., 532 F. Supp. 2d 1350, 1364 (M.D. Fla. 2007) (citing Rollins, Inc. v. Butland,
   951 So. 2d 860, 869 (Fla. 2d DCA 2006)). Plaintiffs fail to adequately allege either a deceptive
   act or an unfair practice by the Defendant Hospitals.

                   1.      Plaintiffs Have Not Adequately Alleged That The Hospitals Deceived
                           Them.
            “[D]eception occurs if there is a representation, omission, or practice that is likely to
   mislead the consumer acting reasonably in the circumstances, to the consumer’s detriment.”
   Zlotnick v. Premier Sales Grp., Inc., 480 F.3d 1281, 1284 (11th Cir. 2007) (quoting PNR, Inc. v.
   Beacon Prop. Mgmt., Inc., 842 So. 2d 773, 777 (Fla. 2003)). “This standard requires a showing
   of ‘probable, not possible, deception’ that is ‘likely to cause injury to a reasonable relying
   consumer.’” Zlotnick, 480 F.3d at 1284 (quoting Millennium Commc'ns & Fulfillment, Inc. v.
   Office of the Att’y Gen., 761 So.2d 1256, 1263 (Fla. 1st DCA 2000)).
            In the Conditions of Admission contract each named Plaintiff entered into with the
   respective Defendant Hospital, Section 5 of the contract provides in pertinent part:
            In consideration of the services to be rendered to Patient, Patient or Guarantor
            individually promises to pay the Patient’s account at the rates stated in the
            hospital’s price list (known as the “Charge Master”) effective on the date the
            charge is processed for the service provided, which rates are hereby
            expressly incorporated by reference as the price term of this agreement to
            pay the Patient’s account. . . . An estimate of the anticipated charges for services
            to be provided to the patient is available upon request from the hospital.
            Estimates may vary significantly from the final charges based on a variety of
            factors, including but not limited to the course of treatment, intensity of care,
            physician practices, and the necessity of providing additional goods and services.
            ...

            If supplies and services are provided to a Patient who has coverage through a
            governmental program or through certain private health insurance plans,
            the hospital may accept a discounted payment for those supplies and
            services. In this event any payment required from the undersigned will be
            determined by the terms of the governmental program or private health insurance
            plan. If the Patient is uninsured and not covered by a governmental


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          program, the patient may be eligible to have his or her account discounted or
          forgiven under the hospital’s uninsured discount or charity care programs in
          effect at the time of treatment. I understand that I may request information
          about these programs from the hospital.

   See Ex. 1 at ¶5, Ex. 5 at ¶5, and Ex. 8 at ¶5.
          The Conditions of Admission forms expressly incorporate the Charge Master as the
   contractual price term. Id. The fact that this is readily apparent on the face of the contracts
   negates Plaintiffs’ contention that they were materially deceived about the pricing of medical
   services. Furthermore, there is no allegation in the Complaint that any of the Plaintiffs requested
   a copy of the respective Defendant Hospital’s price list and was not provided with the
   information. 8 Plaintiffs also ignore the fact that the Conditions of Admission form specifically
   allows them to request “an estimate of the anticipated charges” for the services they would
   receive. Id. There is no allegation that any of the Plaintiffs requested such an estimate of the
   charges and was not provided with one. Notably, there are no allegations in the Complaint that
   the Defendant Hospitals’ charges to the named Plaintiffs for the services rendered differed in any
   way from the rates specified in the Defendant Hospitals’ Charge Master price lists.
          Furthermore, the Conditions of Admission contracts state that patients who are
   “uninsured and not covered by a governmental program,” may be eligible to receive a discount
   “under the hospital’s uninsured discount or charity care programs in effect at the time of
   treatment.” Id. The Uninsured Patient Information Document provided to Plaintiff Haviland
   reflects that the total charges for services provided would be applied to the account, and the
   uninsured discount would be subsequently applied to the total charges, reducing the amount
   owed by Haviland. See Ex. 2. That is precisely what occurred.
          Even assuming the Plaintiffs were correct that the Conditions of Admission contract
   contains an open price term––which it does not, as explained infra––there still is no deception
   under FDUTPA as a matter of law. See, e.g., Urquhart v. Manatee Mem’l Hosp., No. 8:06-cv-
   1418-T-17-EAJ, 2007 U.S. Dist. LEXIS 17531, at *12 (M.D. Fla. Mar. 13, 2007) (dismissing
   claim because “deception does not occur when a pricing term in an agreement for medical
   services is left undefined”); Colomar v. Mercy Hosp., Inc., No. 05-22409, 2006 U.S. Dist.


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     As noted above, both Florida and federal law have long provided patients and prospective
   patients with information about hospital charges, billing and collection practices, discounts and
   charity care.


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   LEXIS 95834, at *20 (S.D. Fla. Mar. 2, 2006) (dismissing claim and noting that an undefined
   pricing term “is not deceptive; the fact that it is undefined is apparent from the face of the
   Agreement”). If the courts in Colomar and Urquhart found no deception even where a pricing
   term was not defined in the agreement, then certainly the Conditions of Admission contract at
   issue here cannot be deemed deceptive because it expressly does define the price term. Thus,
   Plaintiffs have wholly failed to allege that the Defendant Hospitals deceived them in any way.
                   2.     Plaintiffs Have Not Adequately Alleged An Unfair Practice.
            “An unfair practice is one that offends established public policy and one that is immoral,
   unethical, oppressive, unscrupulous or substantially injurious to consumers.” Trent v. Mortgage
   Elec. Registration Sys., Inc., 618 F. Supp. 2d 1356, 1365 (M.D. Fla. 2007) (citing Rollins, Inc.,
   951 So. 2d at 869). Plaintiffs assert that the Defendant Hospitals engaged in an “unfair” practice
   by failing to disclose in their contracts, signage or verbally that they specifically intended on
   charging facility fees for emergency department services. Compl. ¶¶83, 85. This contention
   fails.
            Charging a price expressly agreed upon by the parties cannot form the basis of an
   “unfair” practice under FDUTPA.        See Zlotnick, 480 F.3d at 1284 (affirming dismissal of
   FDUTPA claim against condominium seller who cancelled sales contract and subsequently
   offered to sell at a higher price to same buyer because agreement gave seller the right to cancel
   for any reason); Berry v. Budget Rent A Car Sys., Inc., 497 F. Supp. 2d 1361, 1367 (S.D. Fla.
   2007) (dismissing FDUTPA claim alleging rental car fee exceeded company’s actual costs where
   fee was “clearly disclosed” in rental agreement). Here, the Conditions of Admission contracts
   clearly explained how prices will be determined, i.e., based on the Charge Master; stated that
   certain patients would receive discounts; and informed patients that an estimate of anticipated
   charges would be provided upon request.
                   3.     The Defendant Hospitals’ Practices Are Consistent With Industry
                          Practice And Cannot Be An Unfair Or Deceptive Practice.
            As noted above, the Complaint seeks a declaration of Plaintiffs’ obligations with respect
   to emergency department facility fees, specifically those affiliated with the CMS’s Healthcare
   Common Procedure Coding System (HCPCS) Code 99283 and 99284. Although Plaintiffs
   suggest that these fees are somehow improper “surcharges,” they are in fact standard industry
   codes relating to the costs of providing and maintaining emergency room services and
   equipment, as well as services provided by non-physician employees of the hospital.


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             Federal regulations, specifically 45 C.F.R. §162.1002(a)(5), (b)(1), designate the
   American Medical Association’s Current Procedural Terminology (“CPT’) as the standard codes
   to be used for reporting and billing physician services and other health care services. United
   States ex rel. Riedel v. Bos. Heart Diagnostics Corp., 332 F. Supp. 3d 48, 57 (D.D.C. 2018); see
   also Newport News Shipbuilding & Dry Dock Co. v. Loxley, 934 F.2d 511, 513 n.2 (4th Cir.
   1991) (noting that the CPT “coding system is the most widely accepted nomenclature for the
   reporting of physician procedures and services under government and private health insurance
   programs”) (internal quotation marks omitted); Apple Inc. v. Psystar Corp., 658 F.3d 1150, 1158
   (9th Cir. 2011) (noting that “the CPT had become an industry standard” by 1997). 9 These codes
   are found in the American Medical Association’s Current Procedural Terminology Manual
   (“CPT Manual”) in the HCPCS, each of which provides a corresponding description of medical
   services for each code. United States ex rel. Borges v. Doctor's Care Med. Ctr., Inc., No. 01-
   8112-CIV, 2007 WL 9702639, at *3 (S.D. Fla. Jan. 29, 2007).
          HCPCS Codes 99281 through 99285 define five levels of services relating to patient
   evaluation and management in an emergency department. U.S. ex rel Trim v. McKean, 31 F.
   Supp. 2d 1308, 1310 (W.D. Okla. 1998). The levels of service vary based on the patient’s
   history, the extent of the examination needed, and the complexity of the medical decision-
   making.     Thus, far from being a “surcharge,” codes 99283 and 99284 are the standard,
   authorized HCPCS codes approved by CMS for billing emergency department services.
   Plaintiffs’ attempt to cast the fees as somehow deceptive and unfair is thus negated by
   established industry practice. See Hooper v. UnitedHealthcare Ins. Co., 694 F. App’x 902, 910
   (4th Cir. 2017) (affirming summary judgment for ERISA plan and noting “[w]e see nothing in
   the Plan that would preclude Michelin, in the exercise of its discretion, from relying upon this
   well-established industry standard for procedure classification and medical billing when
   determining whether a particular procedure should be classified and paid as “office surgery” as
   opposed to as an “office visit” under the terms of the Plan.”); St. Michael's Emergency Ctr., LLC
   v. Aetna Health Mgmt., LLC., No. CV H-08-2336, 2011 WL 12896736, at *2, 13 (S.D. Tex.


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      See https://www.cms.gov/Medicare/Coding/MedHCPCSGenInfo/HCPCS_Coding_Questions.html
   (“The CPT is a uniform coding system consisting of descriptive terms and identifying codes that
   are used primarily to identify medical services and procedures furnished by physicians and other
   health care professionals. These health care professionals use the CPT codes to identify services
   and procedures for which they bill public or private health insurance programs.”


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   Aug. 22, 2011) (noting Codes 99281–99285 are used for billing emergency department services
   provided by hospital-based facilities). 10 Accordingly, there is no deception or unfairness in
   connection with charging an emergency room facility fee.
           Because the Complaint fails to plead the essential elements of a FDUTPA claim, it
   should be dismissed.
           B.     Plaintiffs Fails To Allege That They Have Been Aggrieved Under FDUTPA
                  And Therefore Lack Standing To Sue For Equitable Relief.
           Because Plaintiffs have additionally failed to allege that they have been aggrieved under
   FDUTPA, they do not have standing to sue for equitable relief. FDUTPA provides, in pertinent
   part, that:

           Without regard to any other remedy or relief to which a person is entitled, anyone
           aggrieved by a violation of this part may bring an action to obtain a declaratory
           judgment that an act or practice violates this part and to enjoin a person who has
           violated, is violating, or is otherwise likely to violate this part.
   Fla. Stat. § 501.211(1) (emphasis added). Thus, in order to seek declaratory or injunctive relief
   under FDUTPA, a plaintiff must be damaged in a manner cognizable under the consumer
   protection statute.
           In the present case, while asking the Court to declare that the Defendant Hospitals have
   violated FDUTPA and to enjoin them from further violations, Plaintiffs have not alleged that
   they have been aggrieved by the Defendant Hospitals’ alleged billing practices such that they
   have standing to seek injunctive or declaratory relief. Plaintiffs do not suggest that they paid for
   goods or services worth less than those delivered, nor do Plaintiffs allege any facts to suggest
   that they will be subject to this alleged billing practice in the future. As Plaintiffs have not
   alleged an actual injury under FDUTPA, they are not aggrieved parties, and, therefore, lack
   standing to seek equitable relief on behalf of other consumers. See General Motors Acceptance
   Corp. v. Laesser, 718 So. 2d 276, 277 (Fla. 4th DCA 1998) (reversing verdict in favor of
   plaintiff on FDUTPA claim upon concluding that “to be actionable an unfair or deceptive trade
   practice must be the cause of loss or damage to a consumer”); Smith v. 2001 South Dixie


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     See also Emergency Health Ctr. at Willowbrook, L.L.C. v. UnitedHealthcare of Texas, Inc.,
   892 F. Supp. 2d 847, 853 (S.D. Tex. 2012) (“UHC notes that ‘there are two components to
   payments for services provided in licensed hospital emergency rooms: a ‘facility’ fee and a
   ‘professional’ fee. EHC submitted claims for facility fees to UHC, and PA submitted claims for
   professional fees.’”).


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   Highway, Inc., 872 So. 2d at 993 (Fla. 4th DCA 2004) (holding that plaintiff could not maintain
   claim under FDUTPA where she had not alleged “actual damages” within FDUTPA and sought
   injunctive relief in the form of reinstatement of employment – relief beyond that offered by
   FDUTPA). Compare Davis v. Powertel, 776 So. 2d 971, 975 (Fla. 1st DCA 2001) (holding that
   Section 501.211(1) authorizes aggrieved plaintiff to seek injunctive relief, even if that relief does
   not benefit the customer who filed the suit, because FDUTPA “is designed to protect not only the
   rights of litigants, but also the rights of the consuming public at large.”).
             Accordingly, Count II should be dismissed for failure to sufficiently allege that Plaintiffs
   are aggrieved parties suffering actual injury who have standing to sue for equitable relief.
      III.      JOINDER IN HCA HEALTHCARE AND DIVISION MOTION TO DISMISS
             The Defendant Hospitals join and adopt the arguments and positions asserted by co-
   defendants in the Motion to Dismiss which are applicable to the Defendant Hospitals, and
   request that the Court dismiss the claims against the Defendant Hospitals for the same reasons.
                                              CONCLUSION
             For the reasons set forth above, Defendants Poinciana Medical Center, Inc., Fort Walton
   Beach Medical Center, Inc., and Palms West Hospital Limited Partnership respectfully request
   this Court to dismiss the Complaint in its entirety with prejudice. Dismissal with prejudice is
   appropriate because Plaintiffs lack standing to bring these claims, and as such, amendment
   would be futile.




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   Dated: __________, 2019            Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE

          I CERTIFY THAT, on this 14th day of June, 2019 I electronically filed the foregoing

   document and its attachments with the Clerk for the United States District Court, Southern

   District of Florida. The electronic case filing system (CM/ECF) will send a Notice of Electronic

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